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                     UNITED STATES BANKRUPTCY COURT
                 WESTERN DISTRICT OF MICHIGAN (GRAND RAPIDS)
IN THE MATTER OF:
Wesley Howard Magnan,                                     Bankruptcy Case No. 15-03757-jwb
Sandra Christine Magnan,                                  Honorable James W. Boyd
                                                          Chapter 7
                        Debtors.
                                      /
              MOTION FOR DETERMINATION OF CONSEQUENTIAL VALUE
                          PURSUANT TO 11 U.S.C. § 521(a)

        Kelly M. Hagan, the duly-appointed chapter 7 trustee in this case (“Trustee”), by and through her
attorneys, Beadle Smith, PLC, for her Motion for Determination of Consequential Value Pursuant to 11
U.S.C. § 521(a), states as follows:

        1.      Debtors filed this case under Chapter 7 of the Bankruptcy Code, 11 U.S.C. §§ 101 et seq.
                on June 30, 2015.

        2.      The first date set for the § 341 meeting of creditors was August 4, 2015 which was
                concluded on that date.

        3.      Property of the estate includes the Debtor’s interest in a 1986 Zetor Tractor with Allied
                Loader and a Farm King 72" Rototiller (“the property”).

        4.      The schedules filed in this case indicate that Honor Bank claims a security interest in the
                property. The security interest may be avoidable by Trustee pursuant to 11 U.S.C. §547
                and §544

        Trustee respectfully requests this Court:

        a.      Determine that the property is of consequential value or benefit to the estate, pursuant to
                11 U.S.C. § 521(a)(6), and shall remain property of the bankruptcy estate;

        b.      Order Debtor to deliver the property to Trustee, pursuant to 11 U.S.C. § 521(a)(6), if so
                directed by Trustee;

        c.      Order that no adequate protection is required to be paid to Honor Bank because it has an
                avoidable interest in the property other than a potential unsecured claim;

        d.      Order that the automatic stay pursuant to 11 U.S.C. § 362(h)(2) shall remain in place as
                to the property; and,

        e.      Provide such other relief as is just and equitable.

Dated: September 17, 2015                                /s/ Kevin M. Smith
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